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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA      *
                               *
      v.                       *
                               *
 BRIAN MARK LEMLEY, JR.,       *    CASE NO. 20-mj-192-CBD
                               *
 PATRIK JORDAN MATHEWS, and    *    CASE NO. 20-mj-193-CBD
                               *
 WILLIAM GARFIELD BILBROUGH    *    CASE NO. 20-mj-194-CBD
 IV,                           *
                               *
           Defendants          *
                               *
                            *******
                     MOTION FOR DETENTION PENDING TRIAL

                        “I guess I just like breaking the law. Lol.”
                    — William Garfield Bilbrough IV, November 26, 2019

        “Derail some fucking trains, kill some people, and poison some water supplies.
                       You better be fucking ready to do those things.”
                        — Patrik Jordan Mathews, December 1, 2019

                      “I’m worried we’re going to become psychopaths.”
                        — Patrik Jordan Mathews, December 23, 2019

                      “I cannot trust you to keep my murdering secrets.”
                         —Brian Mark Lemley, Jr., January 15, 2020

                   “You realize that they’re just going to call us terrorists.”
                        — Patrik Jordan Mathews, January 15, 2020

                                          Background

       On January 16, 2020, the defendants were arrested pursuant to federal criminal complaints,

which charged them with various firearm and alien-related offenses. The Court held initial

appearances that day and scheduled detention hearings for Wednesday, January 22, 2020. To aid

the Court’s detention determination, the Government files this memorandum in order to set forth
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facts showing that no condition or combination of conditions will reasonably assure the appearance

of any defendant or the safety of any other person and the community. As explained herein, the

defendants in this domestic terrorism investigation must be detained. 1

                                          “THE BASE”

       The defendants are members of a white supremacist organization called “THE BASE.”

Within The Base’s encrypted chat rooms, members have discussed, among other things,

recruitment, creating a white ethno-state, committing acts of violence against minority

communities (including African-Americans and Jewish-Americans), the organization’s military-

style training camps, and ways to make improvised explosive devices.

       Since 2018, The Base has been building a coalition of white supremacist members within

the United States and abroad through, among other things, online chat rooms, in-person meetings,

propaganda, and military training. The Base’s membership includes members of other white

supremacist organizations, including Atomwaffen Division, a violent neo-Nazi terror group linked

to several hate crimes. The Base recruits white supremacists and is particularly interested in

applicants with military and explosives backgrounds. The Base recruits through its online

presence, among other means. Applicants submit an application form, which includes questions

regarding the applicant’s current associations with white supremacist organizations; the

applicant’s military, science, and engineering experiences and training; and the applicant’s race




1
 After the Government drafted this motion, but before the motion was filed, defense counsel for
Lemley informed the Court that Lemley is consenting to detention at this time, with leave to re-
open at a later date. The Court then ordered Lemley’s detention by agreement. See ECF No. 12.

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and gender. Applicants are then vetted. Once admitted into the organization, Base members are

afforded access to a secure messaging group. 2

       The Base has an online presence that gives context and promotion to its main goal. By

way of example, on April 23, 2019, The Base posted the following message online:




2
 The Base has received media attention since its inception. See, e.g., Ben Makuch and Mack
Lamoureaux, “Neo-Nazis Are Organizing Secretive Paramilitary Training Across America,” Vice
News, Nov. 20, 2018; Ryan Thorpe, “Homegrown Hate,” Winnipeg Free Press, Aug. 16, 2019.

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       In the above post, by “our People’s extinction,” The Base was referring to the extinction

of the white race. Additionally, The Base’s accounts on Twitter and Gab (a social media website

known to be used by extremists banned from other social networks) have repeatedly posted content

promoting terrorism, lone-wolf attacks, and a white ethno-state. For example:

       •    “Unabomber pledged to stop his deadly attacks if the New York Times & Washington
            Post published one of his manuscripts—They did. Now imagine if there were 10
            ‘unabombers’ or 100 or 1000 who all shared one clear & practical political demand.
                                               4
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            How long until the System capitulated?” This post was accompanied by a photograph
            of Ted Kaczynski.

       •    “No need to wait until all conditions for revolution exist—guerilla insurrection can
            create them. Insurgency begins as a terrorist campaign.” This post was accompanied
            by a photograph of an explosion and an individual carrying what appears to be an
            assault rifle watching the explosion.

       •    “If you want a society with traditional values, electoral politics could still achieve that
            theoretically. But if you want a *White* society, electoral politics can’t achieve that
            unless the current System of government is replaced. The current System can’t be
            replaced peacefully.”

       •    “Create a list of every anti-White hate crime you can think of in which there was a
            miscarriage of Justice—These people have names & addresses. Go forth & balance
            the scales.”

       •    “Because space is compressed in cities, snipers may have to shoot from confined areas
            such as inside a vehicle like the D.C. snipers who made their shots from trunk of a
            sedan—Advantage is as soon as sniper takes his shot, driver takes off & is miles away
            from the scene in minutes.” This post was accompanied by an image of a man aiming
            a rifle through a hole in a car trunk.

       •    “Afghanistan is [a] good example of unifying ideology (think 14 Words) harnessed
            militarily—Although Taliban themselves were locally oriented, al-Qaida used its
            international network & propaganda to rally fighters worldwide around one flag united
            in their conviction & self sacrifice.” 3

       •    “Theoretically speaking, approximately how many lone wolf attacks per week & over
            how long of a time period would be sufficient to coerce the System to accommodate
            pro-White legislative demands?”

       •    “Creating a White Ethnostate is necessarily a revolutionary undertaking which requires
            liberating our People from the System & breaking away by whatever means necessary
            . . . . Not waiting for balkanization but making it happen instead.”

       •    “We already have many organizations around the world . . . . A few good ones too. The
            problem is that very few are doing offensive operations. Raising awareness in any form
            is not equivalent to going on the offensive unless it entails raising the enemy’s
            awareness of the threat we pose.”

3
 “14 Words” is a popular 14-word white supremacist phrase: “We must secure the existence of
our people and a future for white children.” 14 Words was coined by David Lane, a now-deceased
member of a white supremacist and domestic terrorist group known as “The Order” who was
convicted of various offenses in furtherance of the group’s cause.

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        •    “Securing a future for White children necessarily entails securing independent territory
             . . . . Our People can’t have a secure future in America where they’re destined inevitably
             to become a persecuted minority. We must fight for a new White Homeland … forge
             a new White Identity.”

        •    “The cost of one bomb equals 60 million leaflets (which the Movement could neither
             produce nor distribute). Terrorism is good economics . . . . The public is at once
             informed & this information could not have been more cheaply spread or more
             quickly.”

        •    “A sincere pro-White movement in USA must necessarily be a secessionist movement
             . . . . It’s the only feasible option remaining for establishing the ethnostate. All legal
             aboveground activism should be focused on this ultimate goal concurrently with
             forming a clandestine military wing.”

        •    “Daily Reminder: Anyone who tells you that the 14 Words can be achieved peacefully
             is either a fool, a fraud, or a fed.”

                    Lemley’s Violent Rhetoric and Admission into The Base

        Prior to joining The Base, Lemley became a member of a different white nationalist, neo-

Confederate organization. Lemley has been in contact with members of that organization,

including its founder, and attended the organization’s annual Christmas party in Tennessee in

2018.

        Furthermore, in early 2018, Lemley initiated contact with Harold Covington, the founder

and leader of The Northwest Front and an American neo-Nazi activist and writer who died on or

about July 14, 2018. Covington and The Northwest Front promoted white separatism and the idea

of creating a white homeland in the Pacific Northwest. After the initial contact in April 2018,

Lemley received approximately 75 e-mails from or pertaining to the Northwest Front.

        On February 28, 2019, Lemley made his initial contact with The Base. In the e-mail,

Lemley identified himself as “current member [different white supremacist organization] 3 months




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(newbie). Been listening to harold Covington 2 years. Im a 2016 redpill.” 4 After receiving an e-

mail response asking for more information, Lemley responded in part as follows:

              Ideology/political worldview: ill summarize because this could be
              extremely long. I am a newbie NatSoc. This came to be out of seeing
              world jewry destroy white nations and spread multiculturalism,
              white genocide and all manners of subversion. I have been watching
              south africa/ European invasion closely. I expect there to be a civil
              war in the usa in the near future. Trump is a false prophet, Israel first
              fraud. He is just calming white anger while the agenda drives
              forward in the background behind him. I am looking at the economic
              miracle of the 3rd reich. Realizing that libertarianism is ideal but too
              easy to subvert by motivated forces. Something more extreme is
              necessary. In the case of how infested america, the infestation has
              become so bad only a flamethrower will do.

              Why join the base?:
              I really expect the powder keg to just blow at some point and I want
              to have some like minded people to link up with and get my family
              the hell out of here. I wish that my resources and my goodwill go to
              a good cause in any special event. My manpower be used so that our
              guys benefit. I am interested in training also. I could make this 20
              pages but I think you get the point. The holocaust is fake news.

       Between March and June 2019, Lemley posted multiple messages and images of Base

propaganda to his Twitter account, including the (partially redacted) image below:




4
  “Red Pill” is an expression used in certain white nationalist circles to signify coming to
understand the truth of their ideology, in contrast to not being a white nationalist.

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       Lemley also participated in encrypted online chats with other members of The Base. In

the chats, Base members frequently discussed evading law enforcement and what would happen

if law enforcement tried to disrupt their activities, including how they would react if law

enforcement showed up with warrants; shooting it out with law enforcement; suicide by cop; and

the importance of not letting law enforcement take them alive if they come with a warrant. For

example, in September 2019, in a discussion with other Base members, Lemley wrote, “Hey mr

fed” and “I spent about 35% of my day daydreaming about killing you today.” Lemley went on

to write, “I day dream about killing so much that I frequently walk in the wront [sic] directions for

extended periods of time at work.”

                                     Bilbrough’s Base Activity

       Google search warrant returns revealed that on March 3, 2019, Bilbrough navigated to an

online retail service based in China and viewed a webpage selling a particular skull balaclava. A

partial screenshot of the website is below:




       Members of The Base use skull balaclavas and similar masks and face coverings to conceal

their identities. As discussed herein, Bilbrough has participated in several training camps for The

Base, including camps in Georgia and elsewhere, and was featured in a propaganda video. The

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below screenshot from the propaganda video shows Bilbrough wearing a skull balaclava (but with

uncovered red hair) and participating in firearms training: 5




         In addition, Bilbrough has compared The Base favorably to al-Qaeda, and told other Base

members that “Isis doesn’t compare to us.” By these statements, Bilbrough was boasting that The

Base’s aspirations were greater than either terrorist organization.

         Bilbrough has repeatedly expressed an interest in traveling to the Ukraine to fight with

nationalists there. In a post-arrest interview, Bilbrough confirmed that he has friends in Ukraine and

that he intended to go there for several months. Furthermore, Bilbrough attempted to recruit Lemley

and Mathews to go to Ukraine with him. To that end, in November 2016, Bilbrough and Lemley

discussed ways that Lemley could take his minor child from the child’s custodian, in order to bring


5
    Another version of this image, taken from a Vice News article, appears below.

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the child to Ukraine while Lemley fought in or alongside the Ukrainian army. Bilbrough told Lemley,

“I have pretty quick and easy access to stuff like coke, heroin, or whatever else,” and suggested that

Lemley drug the child’s custodian in order to get the child quickly while exacting untraceable revenge

on the custodian for past grievances. In this conversation, when Lemley suggested that Bilbrough

was being too hasty, Bilbrough stated, “I guess I just like breaking the law. Lol.”

        At some point in late 2019, Bilbrough at least partially dissociated himself from The Base in

order to focus his attention on preparing to travel abroad to fight in Ukraine, and to recruit other Base

members to join him there. However, Bilbrough still remained in contact with full Base members,

such as Lemley, Mathews, and others.

                             The August 2019 Base Training Camps

        Members of The Base conducted a regional training camp in Georgia from August 2

through August 4, 2019. Bilbrough traveled with Lemley in Lemley’s vehicle to attend the training

camp, and while there participated in tactical training and firearm drills. The photograph below

was taken at the training camp in Georgia and depicts an unknown member of The Base:




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       Later in August 2019, Lemley and Bilbrough attended another Base training camp in a

different state. The photographs below were taken at that separate training camp. In the first

photograph, Lemley is standing second from the left while holding a long gun straight in the air,

and Bilbrough is kneeling in the center under The Base flag while holding a blade. In the second

photograph, Bilbrough is standing second from the left while firing a long gun.




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                              Mathews’s Arrival in the United States

          On August 19, 2019, the Winnipeg Free Press published an article regarding one of its

reporters’ infiltration of The Base. While acting in an undercover capacity on behalf of the

Winnipeg Free Press, the reporter was telephonically interviewed by Base leadership to become a

member. Upon completion of the telephone interview, Base leadership arranged an in-person

meeting with a local Base member residing in the area of Winnipeg, Canada. The reporting led to

the identification of Mathews as the Base member the reporter had met in person.

          On or about August 19, 2019, the Royal Canadian Mounted Police (“RCMP”) executed a

search warrant at Mathews’s residence. On or about August 27, 2019, the Canadian Armed Forces

discharged Mathews from service. Approximately one day later, Mathews was reported missing

to the RCMP. On or about September 2, 2019, Mathews’s pickup truck was found abandoned in

proximity of Piney, Manitoba, Canada, near the Manitoba/Minnesota border with the United

States.

          According to Google location data, cell phone location data, recorded telephone calls, and

Bilbrough’s post-arrest statements, on August 30, 2019, Lemley and Bilbrough traveled in

Lemley’s truck from Maryland to southern Michigan (roughly 600 miles, just off the Indiana toll

road) in order to pick up Mathews. Lemley and Bilbrough remained in the Michigan area for

approximately two hours, after which all three headed back east. While en route to Maryland on

the morning of August 31, 2019, the three stopped at a Walmart in Ohio, where Mathews paid

cash for a burner phone. The three then continued back to Maryland.

          Bilbrough was dropped off at his house in Maryland on the evening of August 31, 2019.

He brought with him a few souvenirs, including a flag (presumably The Base’s flag) and a book

widely circulated in white nationalist circles. Later that night, in a recorded conversation with a



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relative jailed in a Maryland correctional facility, Bilbrough confirmed that he had “just got home

from hanging out with my friends” and that he had gone on a “road trip . . . to like Indiana, and

then we came back.”

       After dropping off Bilbrough, Lemley continued to drive Mathews south to Chincoteague,

Virginia. Two weeks later, around September 14, 2019, Lemley traveled from Elkton, Maryland,

to Chincoteague, Virginia, in order to pick up and relocate Mathews to the property of a Base

member in Georgia. En route to Georgia, Lemley (driving) and Mathews (in the passenger seat)

passed through the Chesapeake Bay Bridge Tunnel near Norfolk, Virginia:




       On Sunday, September 15, 2019, at approximately 3:00 a.m., Lemley and Mathews arrived

in Georgia, and entered the other Base member’s property from a dirt path with surrounding

woods, avoiding the main entrance of the property, which was accessible via road. Approximately


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five hours later, Lemley departed and headed north and east toward Maryland, returning to his

residence in Elkton, Maryland, on September 16, 2019.

       While residing in Georgia, Mathews stated that he “only exists for the White Revolution

now.” Mathews further stated that he wanted to remain a “ghost” and oversee safe houses for

Base members who need to disappear. Mathews stated that once there are a few “ghosts,” they

could begin doing “jobs,” by which Mathews meant targeted violence or attacks. Mathews also

conducted Internet searches relevant to his ideology and plans, while he resided in Georgia. A

sampling of some of the sites and searches include: Atomwaffen Division; Palmetto State Armory

“Build your own AR-15”; “Complete AR-15 Firearms”; “Ten D&H 5.56 30rd Aluminum

Magazines & Ten Magpul PMAG 5.56 30rd Magazines – Accessories”; 5.11 tactical “Tactec Plate

Carrier”; James Mason “The Siege”; Ammunition News; Firearm News; and searches for articles

related to himself.

  The October/November Training Camp in Georgia and Mathews’s Travel to Delaware

       On October 30, 2019, Lemley picked up Bilbrough at his residence in Denton, Maryland,

and drove south to Georgia to attend a training camp at another Base member’s property.

Mathews, who already was residing at the property, also attended the training camp. While in

Georgia, on November 2, 2019, Lemley and Bilbrough purchased $558.54 of approximately 1,550

rounds of 5.56 ammunition. Late in the evening on November 2, 2019, Lemley, Mathews, and

Bilbrough traveled from Georgia en route to Maryland. Law enforcement agents surveilling the

trio observed Bilbrough driving Lemley’s vehicle from Virginia, on the Maryland side of the

Capital Beltway, and over the Chesapeake Bay Bridge. After Bilbrough exited the vehicle at his

Maryland residence, Lemley and Mathews travelled in the vehicle to the area of Elkton, Maryland,




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where Lemley obtained a motel room minutes from Lemley’s then-residence for Mathews to spend

the night.

         On November 4, 2019, Mathews left the motel on foot, carrying a rolling duffel bag. After

ordering food from a nearby restaurant and buying a drink from a convenience store, Mathews

walked into the woods behind the restaurant, where he remained until Lemley picked him up and

drove, eventually, to an apartment complex in Newark, Delaware (just across the state line from

Elkton, Maryland). Lemley rented an apartment at the complex, while Mathews remained in the

truck.

         Lemley and Mathews lived in the Delaware residence until their arrest there on January 16,

2020. While in the residence, Lemley and Mathews planned to and actually did build a functioning

assault rifle. On November 28, 2019, Lemley placed an order for an upper receiver for a long gun.

On November 30, 2019, Lemley placed an order for a firearm stock for a long gun. During

December 2019, Lemley and Mathews used the upper receiver and other firearm parts to make the

assault rifle.

                    The Sneak-and-Peek Search of the Delaware Residence

         On December 13, 2019, pursuant to a federal search warrant, law enforcement agents

conducted a delayed-notification search of the Delaware residence, colloquially described as a

“sneak-and-peek warrant.”      In Lemley’s bedroom and attached closet, agents located Base

propaganda flyers, communication devices, and empty rifle cases. In a common area closet, “go

bags” were found, which contained numerous Meals-Ready-to-Eat (“MREs”) and knives, and

certain necessary items to build an assault rifle pictured here:




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       During the search, law enforcement agents obtained images of electronic devices. On

Mathews’s computer, agents found at least one video of Mathews discussing his illegal journey

into the United States. Agents also found several videos of Mathews espousing violent, anti-

Semitic, and racist language. Many of the videos discuss killing people in furtherance of “the

movement.” Below is a draft transcript and screenshot from one of those videos, in which

Mathews is observed wearing a gas mask and attempting to distort his voice:




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     Testing of course the audio on this, seeing if there is enough vocal
     disruption in terms of my voice. The time for words has ended. The
     time for podcasts has ended. The time for talk has ended. If you’re
     wasting your time simply thinking there’s going to be
     movementarian approach to the coming problems, you think that
     podcasts are the solution they’re not, if you think talking is a
     solution, it is not. If you think politics is a solution, you are a damn
     fool. To quote [a Winnipeg Free Press reporter] as there is no
     technical record of the person he likes to attribute this to, so to quote
     [a Winnipeg Free Press reporter] the system does not want a
     peaceful solution, the system has prevented a peaceful solution at
     every possible turn. It is the system that is fomenting violent
     revolution, not us, and they shall now reap what they have sown.
     The time for violent revolution is now, that time is already here, it’s
     here right now as we speak. You have one of two options if you
     understand the truth and you understand the gravity of the situation.
     Your two options are as follows. Option number one, prepare for the
     collapse. Option number two, bring the collapse. That is it. If you
     are not getting physically fit, if you are not getting armed, if you do
     not acquiring weapons, ammunition, and training right fucking now,
     then you should be preparing to do what needs to be done. Derail
     some fucking trains, kill some people, and poison some water
     supplies. You better be fucking ready to do those things. If not, then

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                  you are not going to be ready for what’s coming. If you want the
                  white race to survive, you’re going to have to do your fucking part.
                  You were born sadly in the wrong century. For those who want to
                  do nothing and who want a comfortable life, that’s not an option.
                  This is the age of war. This is the age of entire this is the age of
                  strife, this is the century upon which this current civilizations rotting
                  Jew infested country comes to a collapse. You were born in the
                  wrong century for complacency. That’s all for now.

                          Title III Authority and Additional Investigation

         In December 2019, law enforcement obtained court orders authorizing the installation of a

closed-circuit television camera and microphone in the Delaware residence. As discussed below,

agents observed Lemley and Mathews espousing violent rhetoric toward African-Americans and

Jewish-Americans; Mathews constructing an Assault Rifle (“AR”); Lemley and Mathews

discussing the construction of the AR; Lemley and Mathews handling and discussing a sniper rifle;

Lemley, Mathews, and Bilbrough attempting to manufacture DMT, a Schedule I Controlled

Substance; Lemley, Mathews, and Bilbrough discussing Base-related activities and Base

members; and Lemley and Mathews discussing the planning of violence at a specific event in

Virginia, scheduled for January 20, 2020.

         On December 20, 2019, Mathews discussed the construction of his AR with Lemley.

Mathews went on to ask Lemley, “what are your thoughts, are you starting to think that like

Virginia is going to fucking cook off?” Lemley responded, “it looks that way.” On the same day,

Mathews asked Lemley, “you think any of the boys are going to try make use of what’s happening

in Virginia.” 6

         On December 21, 2019, Lemley and Mathews again discussed Virginia. Mathews stated,

“you wait, you’re dead,” then went on to say, “here’s the thing to, you want to create fucking some



6
    Quoted statements herein are produced in sum and substance and in draft form.

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instability, while the Virginia situation is happening, make other things happen, derail some rail

lines, fucking like shut down the highways, oh road block, great lets shut down the rest of the

roads, you know, you can kick off the economic collapse of the U.S. within a week, after the boog

starts.” 7 Also that day, Lemley and Mathews discussed obtaining weapon parts for the AR, and

Lemley discussed obtaining a Glock handgun. Throughout the day, Lemley and Mathews held

and manipulated the AR. On multiple occasions, Mathews aimed the AR and practiced magazine

reloads and performing tactical entries from the kitchen into the common living area.

       Later on December 21, 2019, Bilbrough arrived at the Delaware residence. Mathews and

Bilbrough were observed passing the AR to each other. Lemley, Mathews, and Bilbrough

discussed Virginia, and Lemley stated, “don’t wear any Base patches down in Virginia, we’re

supposed to be clandestine.” Then, throughout the evening and into the early morning hours of

December 22, 2019, Lemley, Mathews, and Bilbrough discussed the manufacture of DMT

(dimethyltryptamine), a Schedule I Controlled Substance, and attempted to actually manufacture

DMT. Bilbrough stated that he may try to sell DMT to the people to whom he delivers pizza, and

Mathews stated that he had co-workers to whom he may able to sell DMT. Bilbrough also stated

that he knows DMT is illegal and it is a felony to have DMT.

       Early in the morning on December 22, 2019, Mathews explained to Lemley and Bilbrough

that he wished he had set secret explosive devices for the RCMP search team that confiscated his

guns: “In all honesty, I could really wish they fucking all started searching my place, accidently

trip a pin, and boom and the whole house goes boom. Boy, wouldn’t that be terrible, a bunch of

fucking RCMP search experts got fucking exploded.” Bilbrough agreed: “Bunch of pigs.”



7
 Base members use the term “boogaloo” or “boog” to refer to the coming collapse of the United
States.

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Mathews then explained, “[y]ou reach the most violent extreme solution first and you talk yourself

out of doing that and then little by little you lose all inhibitions….” Lemley responded by telling

Mathews that he is going to “come full circle here soon.” Mathews then confirmed that “my goal

is to cause a lot more damage….” Bilbrough then inquired which Base members, in addition to

himself, were “in the pipeline for Ukraine.”

         On December 23, 2019, Lemley and Mathews again discussed Virginia and committing

targeted acts of violence. Lemley discussed using a thermal imaging scope affixed to his rifle to

conduct ambush attacks, including attacks against unsuspecting civilians and police officers.

Lemley stated, “I literally need, I need to claim my first victim,” and when describing the optic,

Lemley stated, “It’s so unfair what I can do to people with that you know. There is no safety.

Don’t be caught alone at night in a place where I pop you.” Mathews stated, “we could essentially

like be literally hunting people. Um. You could provide overwatch while I get close to do what

needs to be done to certain things.” Lemley, in a reference to describing a way in which he can

acquire necessary tactical gear and weapons, stated, “I’m just saying the snowball, snowball effect

is so massive though, all we have to do is pick one get one good target that has Gucci[8] that we

want and we just wait for him to step into the position of vulnerability and now and now we’re in

full raid gear.” Mathews soon after stated, “you know we got this situation in Virginia where this

is going to be, that opportunity is boundless and the thing is you’ve got tons of guys who are just

in theory should be radicalized enough to know that all you gotta do is start making things go

wrong and if Virginia can spiral out to fucking full blown civil war.” Finally, as to law

enforcement, Lemley also discussed ambushing a police officer to obtain the officer’s weapons

and tactical gear: “If there’s like a PoPo cruiser parked on the street and he doesn’t have backup,


8
    Lemley and Mathews referred to high-end body armor and tactical equipment as “Gucci” gear.

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I can execute him at a whim and just take his stuff. . . . He literally has zero chance of not being

ganked.” In response to this violent scheme, Mathews ruminated, “I’m worried were going to

become psychopaths.” On the same day, Mathews was observed carrying an AR rifle and inserting

a magazine into the AR, manipulating the AR, and holding the rifle while making imaginary

gunshot noises.

       On December 25, 2019, Lemley discussed his AR and the modifications he was

considering, such as attaching a laser in order to engage “multiple targets.” Lemley and Mathews

discussed obtaining a new firing pin for the AR, which Lemley ordered. Mathews then stated that

when the firing pin was obtained, the “rifle can get tested and then it can get cached. Cause once

it’s tested, I don’t want it here, because the longer this type of thing is here the higher our

probability you know, you know prying eyes . . . the next step though is to get more mags

[ammunition magazines]. I gotta order up those mag pouches. And then I’m, I’m basically good.”

Later in the same conversation, Lemley discussed the prospect of a relative making firearm

suppressors (silencers) if Virginia kicks off.

       On December 26, 2019, Lemley and Mathews discussed planning for Virginia.

Specifically Mathews, speaking to Lemley, discussed derailing trains and sabotaging power lines

in order to bring the economic collapse. On the same date, in derogatory terms, Lemley and

Mathews discussed African-Americans and Jews and producing propaganda for The Base. Lemley

and Mathews discussed obtaining ammunition magazines, magazine pouches, Night Vision

Goggles, and ammunition. At one point on the same date, Mathews, speaking to Lemley, discussed

shaving his head and beard after killing people and putting bodies in the ground, which would

inspire others.




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       On December 28, 2019, Lemley and Mathews discussed Bilbrough’s desire to kill people

with a machine gun. Lemley and Mathews also compared the 2017 Unite the Right rally in

Charlottesville, Virginia, and the upcoming event in Virginia. When speaking about Virginia,

Mathews stated, “we can’t let Virginia go to waste, we just can’t.” Mathews also stated, “you

know what, Virginia will be our day.” Lemley replied, “put this as another feather in my cap, hey

look how active we are. We are actually in fucking Virginia, you know what I mean.” Mathews

then replied, “We’ll have a fucking rifle, you’ll have your fucking kit set up. We’ll have radios,

nods [night vision goggles]. Holy fuck.”

       On December 30, 2019, Mathews stated, “Now the end goal is this, is to incite leftist

violence prior to prior to January 20th in Virginia. We want the left in America to become violent.

We have three weeks to do it.”

       On December 31, 2019, while holding a sniper rifle, Mathews discussed with Lemley that

the next Civil War will be in Virginia the following month. Mathews and Lemley further discussed

violence and civil disorder in Virginia by throwing or sling-shotting fireworks into a crowd to

“cause shooting to go off.”

       On January 1, 2020, at a store in Delaware, Lemley and Mathews purchased approximately

150 rounds of 5.56 mm ammunition, as well as paper shooting targets. Below is a surveillance

photograph taken at the store. Mathews is on the left, and Lemley is on the right.




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          On January 2, 2020, Lemley took the AR from the Delaware residence to a gun range in

Maryland. An FBI agent observed Lemley at the gun range, and heard what appeared to be more

than one bullet being fired at a time. When Lemley returned to the Delaware residence, Lemley

made certain comments to Mathews about the assault rifle firing more than one round at a time.

Lemley also told Mathews, in sum and substance, that the assault rifle “would have to be cached

though because that’s an ATF fucking nightmare,” and, “Oh oops, it looks like I accidentally made

a machine gun.” Lemley then stated to Mathews, in sum and substance, “Go ahead and take the

lower [receiver] off, give it to me. I’m gonna stow it until next week, just in case the ATF shows

up tomorrow.” Mathews retorted, “Um, if they show up here, we got other problems.”

          On January 3, 2020, Lemley and Mathews again discussed plans for Virginia. Lemley

stated:


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               So this, so like, this plan of mine. It was like, this is like an Adderall
               idea... it really didn’t click until I took an Adderall, and then I was
               like, “Oh, shit, I gotta plan.” Uh, so this is what I’m thinking...
               instead of going to Richmond. Why don’t we like, take a look at a
               map and we’ll find like a gun range that’s in like one of the outer
               counties and a campground, and we will spend the weekend training
               and camping, while we uh, pay close attention to the news and live
               streams and uh that way, if it’s go time, you know we’re already in
               position and we can then link up with our whatever NS [National
               Socialist] forces happen to be in the area. Because there will be
               some. Like there is.... they probably will not be like, premier, groups
               that we would like to be with but it would be little hodgepodge, you
               know, three four guys here, four or five guys there, you know,
               maybe another ten guys from the [different white supremacist
               organization], I don’t know, We’ll be able to find them, um, and we
               can, kind of link up and then, kind of get in the tent and start talking
               about what we want to do. And if there’s a um, you know if there’s
               like, if there are like rolling skirmishes through the countryside, it’ll
               be pretty easy to get in and get some action you know and then
               retreat a little bit, come back and get a little more like hit and run
               you know. We’re bound to run into some of our guys . . . . Anyways,
               so between now and then, I’d like to finish the truck, finish our load-
               out, and make sure that everything is basically good to go.

Mathews then responded, stating, “Ok, so here’s a question. Are we loading the truck, when we

go to Virginia as if potential like operations.” Lemley then stated, “yeah, we’re loading the truck

for the war.... essentially... but we’re not going into a place where we’re going to get arrested.

We’re gonna stay on the outskirts, we’re gonna go to the campground and the gun range that’s

gonna be, it might be a few counties outside, where we’re within a reasonable distance, we’re just

not in the fuckin quarantine zone where they’re lookin to arrest people like us you know, but we

would be in a Second Amendment sanctuary, so we shouldn’t have any trouble from local police;

especially given the nature of the environment, where there is just angry gun owners just streaming

in from all over the country.”

       On January 4, 2020, Lemley told Mathews, “Imagine this scenario, right? There’s a

running skirmish of MAGAtards, liberty militias, and libertarians, like basically like trying, they’re



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like shooting their way out of the city essentially, alright. We happen upon this scene, and we find

a woodline, get in the woodline, and take cover. I pop the fucking record button on the thermal,

and I drop like, I drop like, I drop like ten nasty girls on video.”

        On January 5, 2020, Mathews, Lemley, and Lemley’s minor child departed the Delaware

residence with at least one firearm. All three went from the Delaware residence to the same gun

range in Maryland that Lemley had gone to on January 2, 2020. Prior to their arrival, the FBI had

set up a stationary camera near the gun range, and an ATF agent was in the vicinity of the range.

On the stationary camera, agents observed and recorded Mathews in possession of a firearm.

While Mathews appeared to shoot, Lemley appeared to be observing Mathews’s shots through an

unattached rifle scope. While Lemley and Mathews were observed in firing positions on camera,

the ATF agent heard the report of gunfire.

        After Lemley and Mathews returned to the Delaware residence from the Maryland gun

range, they began packing rations and material, presumably to be used during and after the Virginia

conduct. Lemley and Mathews loaded a hard pelican case and at least one other container with

food and supplies, and Mathews stated that he wanted to make sure he brought his gas mask.

Mathews stated that they can survive in the area until “we get some hogs.” Lemley stated that they

may have three or five months’ worth of food, and it “might be enough til the war is over.” Later

that night, Lemley stated that he bought a four-foot metal antenna for his truck, presumably in

order to achieve better radio reception and communications ability during and after any Virginia

conflagration.

        On January 7, 2020, Lemley ordered approximately 1,500 rounds of 5.56 mm and 6.5 mm

ammunition. This ammunition would fit the AR and sniper rifle discussed above that were

possessed by Lemley and Mathews.



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       On January 11, 2020, Lemley drove Mathews from the Delaware residence to the same

gun range in Maryland they had visited on January 5, 2020. While at the range, Mathews handled

and fired the assault rifle. When returning to the Delaware residence from the gun range on

January 11, 2020, Lemley and Mathews stopped by Lemley’s prior residence in Maryland, where

they retrieved plate carriers (to support body armor) and at least some of the 1,500 rounds Lemley

had ordered days before.

       On January 15, 2020, Lemley told Mathews, “There cannot be no trust among a group of

murderers. I cannot trust you to keep my murdering secrets. Not under threat of 30 years in jail

and torture. Why should I trust you? Why should I put that burden on you?” Minutes later,

Mathews stated, “You realize that they’re just going to call us terrorists.” Lemley confirmed, “I

may be going to jail upon discovery of the propaganda on my cell phone.”

       Early in the morning on January 16, 2020, federal agents executed federal arrest warrants

on Lemley and Mathews at the Delaware residence. Before Lemley and Mathews submitted to

the agents, however, they both smashed their cell phones and dumped them into the toilet. Their

activity was fully captured on the video and audio surveillance installed in the Delaware residence.




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                                          Conclusion

       The Government will discuss each of the 18 U.S.C. § 3142 factors at the detention hearings

on Wednesday, January 22, 2020. The information in this motion is relevant to each factor, and

proves that each defendant should be detained pending trial.



                                                    Respectfully submitted,

                                                    Robert K. Hur
                                                    United States Attorney

                                                    /s/
                                                    Thomas P. Windom
                                                    Thomas M. Sullivan
                                                    Assistant United States Attorneys

                                                    Jamie M. McCall
                                                    Special Assistant United States Attorney




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